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2
                                  UNITED STATES DISTRICT COURT
3
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
4

5    UNITED STATES OF AMERICA,                              OLD CASE: 1:18-CR-00199 DAD BAM
                                                            NEW CASE: 1:18-CR-00199 LJO BAM
6                             Plaintiff,
                                                            ORDER ASSIGNING CASE
7                      v.                                   RE PRESIDING JUDGE
8    ELADIO FELIX-LEON, AND
     JESSIEL FELIX-RAMIREZ,
9
                              Defendants.
10

11   UNITED STATES OF AMERICA,                              OLD CASE: 1:19-CR-00007 DAD BAM
                                                            NEW CASE: 1:19-CR-00007 LJO BAM
12                            Plaintiff,
                                                            ORDER ASSIGNING CASE
13                     v.                                   RE PRESIDING JUDGE
14   MANUEL DE JESUS DELGADO-
     MONTENEGRO, ET AL.,
15
                              Defendants.
16

17

18         On the basis of good cause, this Court finds that these cases are related to one another and to the

19 underlying investigations involving wire interceptions authorized by the undersigned. Accordingly, this

20 Court REASSIGNS the above-caption actions to U.S. District Judge Lawrence J. O’Neill for all further

21 proceedings and purposes. Magistrate Judge Barbara A. McAuliffe shall remain assigned to both

22 matters.

23 IT IS SO ORDERED.

24      Dated:    March 5, 2019                             /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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